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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                   Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to:               Judge M. Casey Rodgers
Baker, 7:20cv39                         Magistrate Judge Gary R. Jones
McCombs, 7:20cv94


             ORDER AMENDING ORDER SETTING TRIAL
                   AND PRETRIAL SCHEDULE

      This Order amends the Court’s prior Order Setting Trial and Pretrial

Schedule, Case No. 3:19md2885, ECF No. 1675, in the above-captioned

bellwether cases, McCombs and Baker, as follows. The pretrial conference for

both trials will be held on Monday, May 3, 2021 at 8:30AM and if necessary,

Tuesday, May 4, 2021 at 1PM. All other aspects of ECF No. 1675 remain

unchanged.

      SO ORDERED, on this 23rd day of April, 2021.


                             M. Casey Rodgers
                             M. CASEY RODGERS
                             UNITED STATES DISTRICT JUDGE
